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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
                                    MACON DIVISION

 DEANTE GHOLSTON,                                  *

                      Plaintiff,                   *
 v.                                                    Case No. 5:23-cv-00063-TES-CHW
                                                   *
 Commissioner TYRONE OLIVER ,
                                                   *
                   Defendant.
 ___________________________________               *


                                        JUDGMENT

       Pursuant to this Court’s Order dated January 2, 2024, and for the reasons stated therein,

JUDGMENT is hereby entered dismissing this case. Plaintiff shall recover nothing of Defendant.

       This 2nd day of January, 2024.

                                            David W. Bunt, Clerk


                                            s/ Shabana Tariq, Deputy Clerk
